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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

 SHANNON ROLLINS-ALLEN,                  ************
 INIDIVUALLY AND AS                      *
 PERSONAL REPRESENTATIVE                 *
 OF THE ESTATE OF                        *                      CIVIL ACTION
 CHRISTOPHER ALLEN,
                                         *                      DOCKET NO.:
       Plaintiff,
                                         *
 v.

 NORTHERN CLEARING, INC.

 and

 CURTIS W. STEPHENS,

       Defendants

                     COMPLAINT AND DEMAND FOR JURY TRIAL

                                      INTRODUCTION

       This case arises from a collision caused when Defendant Curtis Stephens, while driving

distracted, drove his truck into the oncoming lane and crashed head-on into Plaintiff’s vehicle,

resulting in serious injuries to Plaintiff Shannon Rollins-Allen and the death of her husband,

Christopher Allen.

       At the time of fatal crash, Defendant Stephens—a Kentucky resident—was acting within

the course and scope of his employment with Defendant Northern Clearing, Inc., a Wisconsin-

based corporation hired by Center Maine Power Company (“CMP”) to perform clearcutting

services in Maine in connection with the powerline corridor currently being constructed to

transport Canadian hydropower to New England. This project is commonly referred to as, among

other things, “the CMP Corridor” and “New England Clean Energy Connect.”

       The crash resulted in the death of forty-six year old Christopher Allen.
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      4.         It also left his high school sweetheart and widow, forty-five year old Shannon

Rollins-Allen, with catastrophic physical and emotional injuries. Since the crash, Shannon has

been predominantly confined to a wheelchair.

      5.         Plaintiff brings this action to compel Northern Clearing to take responsibility for

this tragic incident, for which it and its employee are legally responsible.

                                             PARTIES

      6.         Shannon Rollins-Allen (“Shannon” or “Plaintiff”) is the Personal Representative

of the Estate of Christopher Allen (“Chris”), who died on September 10, 2021, at the age of

forty-six. Prior to Christopher’s death, Shannon and Christopher were married and living

together as husband and wife.

      7.         Shannon is a resident of Madison, Somerset County, Maine.

      8.         Until his death, Chris was a resident of Madison, Somerset County, Maine.

      9.         Defendant Northern Clearing, Inc. is a corporation that provides clear-cutting

services throughout the United States, with its principal place of business in Ashland, Wisconsin.

       10.       In September 2021, Northern Clearing was providing clearcutting services for the

CMP Corridor in Maine pursuant to arrangements with CMP and/or its parent company,

Avangrid, Inc.

      11.        Curtis W. Stephens (“Stephens”) is a resident of Jeffersonville, Kentucky.

      12.        At all times relevant to this action, Curtis W. Stephens (“Stephens”) was an

employee or agent of Northern Clearing, acting within the scope of his duties, in that his conduct

was actuated, in part, by a purpose to serve Northern Clearing. As such, Northern Clearing is

vicariously liable by operation of law for Stephens’s negligent acts or omissions.



                                     JURISDICTION AND VENUE
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         13.   This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332,

because: (a) there is complete diversity of citizenship between Plaintiff and Defendants and (b)

the amount in controversy exceeds $75,000.

         14.   Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391, because the

actions complained about herein occurred in the State ofMaine, Somerset County.

                                                FACTS

         15.   On September 10, 2021, at approximately 5:42pm, Chris was driving a 2008

Chevrolet Impala eastward on Skowhegan Road in Norridgewock, Maine. Shannon was a

passenger in the same vehicle.

         16.   Stephens was driving westward on Skowhegan Road in a commercial, single-unit

truck.

         17.   At the time, Stephens was an employee or agent of Northern Clearing and was

acting in the course and scope of his employment.

         18.   The truck driven by Stephens was used by Northern Clearing in the scope of its

responsibilities on the CMP Corridor.

         19.   While driving, Stephens became distracted by looking at an electronic device and

negligently crossed into the opposing lane and collided head-on with Plaintiff’s vehicle.

         19.   Below is a photograph of Chris’s vehicle after the crash:
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      20.      Chris suffered fatal injuries and died at the scene of the crash.

      21.      Shannon suffered severe injuries and was transported by ambulance to

Reddington-Fairview Hospital.

      22.      Shortly thereafter, Shannon was transferred to Maine Medical Center due to her

need for a higher level of care.

                               COUNT I. WRONGFUL DEATH

      23.      Plaintiff re-alleges all preceding paragraphs as if set forth herein.

      24.      Defendant Stephens owed a duty to operate his truck in a safe and reasonable

manner with due regard to other vehicles on the road and to comply with Federal and State laws,

regulations, industry standards and guidelines relating to the driving of commercial vehicles on

the public roads.

      25.      Defendant Northern Clearing owed a duty to hire, train, supervise, develop and

enforce policies and manage its operations in a manner that ensure that its employees and agents

operated their vehicles in a safe and reasonable manner with due regard to other vehicles on the
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road and to comply with Federal and State laws, regulations, industry standards and guidelines

relating to the driving of commercial vehicles on the public roads.

      26.      Defendants breached their duties of care by, among other things:

               (a) becoming distracted while driving;

               (b) crossing into the opposing traffic lane;

               (c) operating the truck without sufficient caution given the weather conditions;

               (d) violating Federal and State laws and regulations, including, but not limited to,

                   49 CFR § 383.110, 49 CFR § 383.111, 49 CFR § 390.3, 49 CFR § 390.11, 49

                   CFR § 392.14, and 16-222 CMR ch. 4.

               (e) violating industry standards and guidelines;

               (f) negligence in the hiring, training and supervision of employees;

               (g) negligence in the development and implementation of policies relating to

                   employee drivers;

               (h) negligence in operations and planning; and

               (i) otherwise failing to follow protocols and policies to ensure that drivers would

                   have sufficient care and regard for the safety of other motorists, including

                   Plaintiff.

       27.     As a direct and proximate result of Defendants’ negligence, Christopher Allen

suffered severe injuries resulting in his death.

       28.     As a direct and proximate result of Defendants’ negligence, Plaintiff has suffered

emotional distress, loss of care, comfort, and companionship, pecuniary losses, and was forced

to incur medical and funeral expenses.

     COUNT II. SURVIVAL CLAIM FOR PRE-DEATH CONSCIOUS SUFFERING

       29.     Plaintiff re-alleges all preceding paragraphs as if set forth herein.
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       30.     As a direct and proximate result of Defendant’s negligence, Christopher Allen

endured a period of conscious pain and suffering prior to his death.

  COUNT III. NEGLIGENCE RESULTING IN INJURIES TO SHANNON ROLLINS-
                              ALLEN

      31.      Plaintiff re-alleges all preceding paragraphs as if set forth herein.

      32.      Defendant Stephens owed a duty to operate his truck in a safe and reasonable

manner with due regard to other vehicles on the road and to comply with Federal and State laws,

regulations, industry standards and guidelines relating to the driving of commercial vehicles on

the public roads.

      33.      Defendant Northern Clearing owed a duty to hire, train, supervise, develop and

enforce policies and manage its operations in a manner that ensure that its employees and agents

operated their vehicles in a safe and reasonable manner with due regard to other vehicles on the

road and to comply with Federal and State laws, regulations, industry standards and guidelines

relating to the driving of commercial vehicles on the public roads.

      34.      Defendants breached their duties of care by, among other things:

               (a) driving while distracted;

               (b) crossing into the opposing traffic lane;

               (c) operating the truck without sufficient caution given the weather conditions;

               (d) violating Federal and State laws and regulations, including, but not limited to,

                    49 CFR § 383.110, 49 CFR § 383.111, 49 CFR § 390.3, 49 CFR § 390.11, 49

                    CFR § 392.14, and 16-222 CMR ch. 4.

               (e) violating industry standards and guidelines;

               (f) negligence in the hiring, training and supervision of employees;

               (g) negligence in the development and implementation of policies relating to
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                   employee drivers;

               (h) negligence in operations and planning;

               (i) otherwise failing to follow protocols and policies to ensure that drivers would

                   have sufficient care and regard for the safety of other motorists, including

                   Plaintiff.

       35.     As a direct and proximate result of Defendants negligence, Shannon Rollins-Allen

suffered severe and permanent injuries, including broken ribs, a broken pelvis, broken legs,

broken ankles, and shattered heel bones, emotional distress, lost earnings and earning capacity,

lost enjoyment of life, and was forced to incur medical bills for her own care and treatment. All

of these damages will continue into the future.

                                COUNT IV. PUNITIVE DAMAGES

       36.           Plaintiff re-alleges all preceding paragraphs as if set forth herein.

       37.           Defendants’ acts or omissions alleged herein demonstrated such a disregard

for the consequences and the safety of others that they amount to actual or implied malice.

       WHEREFORE, Plaintiff prays for judgment as follows:

       1.      All categories of damages recoverable under Maine’s Death Act, including

               emotional distress, loss of consortium, pecuniary loss, medical expenses, funeral

               expenses and punitive damages.

       2.      All damages recoverable for decedent’s common law injury claim, which survives

               decedent’s death and becomes property of the Estate, including damages for

               decedent’s emotional distress, pain and suffering, and punitive damages.

       3.      All damages recoverable for Shannon Rollins-Allen’s personal injury claim,

               including pain and suffering, lost earnings and earning capacity, loss of

               enjoyment of life, emotional distress, permanent impairment, extraordinary
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             medical expenses and punitive damages.

      4.     Interest, costs, and such other relief as the Court deems just and equitable.


                                   Demand for Jury Trial

                  Plaintiff hereby requests that her claim be tried by a jury.




Date: December 6, 2021

                                                           /s/ Meryl Poulin, Esq.
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